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                IN THE UNITED STATES DISTRICT COURT 

                   NORTHERN DISTRICT OF GEORGIA 

                          ATLANTA DIVISION 


DELIS SA McADOO,

 Plaintiff,                                        Civil Action Number:

 vs.                                               1: 12-cv-02198-WSD

 CONTRACT PACKAGING, INC.

 Defendants.


                                    ORDER

       The above-styled case is presently before the Court on the parties' Joint

Motion for Review and Approval of Settlement Agreement and Release. The

parties have requested that the Court review and approve the parties' proposed

Settlement Agreement in this case because Plaintiff's Complaint includes claims

under the Fair Labor Standards Act, 29 U.S.C. § 201, et seq. The Court has

reviewed the proposed Settlement Agreement and finds that the settlement is a fair

and reasonable resolution of the dispute.      Accordingly, the parties' Motion is

GRANTED, and the Settlement Agreement and General Release of all claims is

APPROVED and incorporated herein.




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          This Court shall retain jurisdiction over this matter to enforce the terms of

    the Settlement Agreement.

         IT IS SO ORDERED, this      \~I- day of_At~';....I-t_ _ _ _ _, 2013.



                                         U.S. DISTRICT COURT JUDGE 





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